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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


 X CORP., a Nevada corporation,

          Plaintiff,                                      Civil Action No. 4:23-cv-01175-O

          v.

 MEDIA MATTERS FOR AMERICA, a
 Washington, D.C. non-profit corporation,
 ERIC HANANOKI, and ANGELO
 CARUSONE,

          Defendants.



    APPENDIX OF EXHIBITS ACCOMPANYING DEFENDANTS’ OPPOSITION TO
              X CORP.’S MOTION TO COMPEL PRODUCTION IN
                   RESPONSE TO RFP NOS. 108, 113–114

          Pursuant to Local Rule 7.1(i), Defendants Media Matters for America, Eric Hananoki,

 and Angelo Carusone attach this Appendix of Exhibits Accompanying Defendants’ Opposition to

 X Corp.’s Motion to Compel Production in Response to RFS Nos. 108, 113–114:

   Exhibit                                Description                                Appendix
                                                                                    Page Number

                Email from Defendants’ counsel to Plaintiff’s counsel dated
      1                                                                                  4
                April 14, 2025.

                Email from Plaintiff’s counsel to Defendants’ counsel dated May
      2                                                                                  8
                2, 2025.


                                                        Respectfully submitted,

                                                        /s/ Shawn P. Naunton
                                                        Dwight P. Bostwick
                                                        Shawn P. Naunton
                                                        Zuckerman Spaeder LLP
                                                        485 Madison Ave., 19th Floor
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                                          Attorneys for Defendants
                                          Media Matters for America, Eric Hananoki,
                                          and Angelo Carusone
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                                CERTIFICATE OF SERVICE

        I certify that on May 5, 2025, a true and correct copy of the Appendix of Exhibits

 Accompanying Defendants’ Opposition to X Corp.’s Motion to Compel Production in Response

 to RFS Nos. 108, 113–114 was properly served on counsel of record via electronic fling in

 accordance with the USDC, Northern District of Texas Procedures for Electronic Filing.



                                                    /s/ Shawn P. Naunton
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                            EXHIBIT 1




                                                                          Page 4
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From:                           Matt Behncke <mbehncke@SusmanGodfrey.com>
Sent:                           Monday, April 14, 2025 12:50 PM
To:                             Alex Dvorscak; Amer S. Ahmed; Justin A. Nelson; Katy Peaslee; Gregg J. Costa; Tyler
                                Lopez; Keeley Lombardo; Andrew LeGrand; Bostwick, Dwight P.; Naunton, Shawn; Trevor
                                Nystrom
Cc:                             XvMMFA
Subject:                        RE: XvMMFA - Follow Up Re: X’s RFP Nos. 108, and 113-114

Follow Up Flag:                 Follow up
Flag Status:                    Flagged



EXTERNAL

Alex:

We will be amending our response to RFP 108. I have a call with the client schedule this afternoon and will call you
afterwards (before 4:00) with details.

Matt Behncke

From: Alex Dvorscak <alex@stonehilton.com>
Sent: Monday, April 14, 2025 9:43 AM
To: Matt Behncke <mbehncke@SusmanGodfrey.com>; Amer S. Ahmed <AAhmed@gibsondunn.com>; Justin A. Nelson
<jnelson@SusmanGodfrey.com>; Katy Peaslee <KPeaslee@susmangodfrey.com>; Gregg J. Costa
<GCosta@gibsondunn.com>; Tyler Lopez <TLopez@susmangodfrey.com>; Keeley Lombardo
<KLombardo@susmangodfrey.com>; Andrew LeGrand <ALeGrand@gibsondunn.com>; Dwight Bostwick
<DBostwick@zuckerman.com>; Naunton, Shawn <snaunton@zuckerman.com>; Trevor Nystrom
<TNystrom@susmangodfrey.com>
Cc: XvMMFA <XvMMFA@stonehilton.com>
Subject: RE: XvMMFA - Follow Up Re: X’s RFP Nos. 108, and 113-114

EXTERNAL Email
Hi Matt,

Counsel for the parties have met and conferred regarding RFP Nos. 108, 113, and 114 multiple
times via email and phone conference beginning on January 8, 2025. We most recently meet and
conferred via video conference on April 7, and you confirmed that we were at an impasse on RFP
Nos. 113 and 114. During that discussion, you said for the first time, that Defendants might
reconsider their position with respect to RFP No. 108. You also said that you would get back to us
shortly if Defendants’ position had changed regarding RFP No. 108. A week has now passed since
the most recent conference, and you have not gotten back to us regarding a change in Defendants’
position. Considering that we have been conferring for over three months, we will file a motion to
compel with respect to all three of these RFPs at noon today unless before that time, you agree in
writing to produce all documents responsive to RFP No. 108. If Defendants agree to produce


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anything short of all documents responsive to RFP No. 108, we will move forward with the filing
of the motion to compel at noon today.

Best,
-Alex Dvorscak
STONE HILTON PLLC
alex@stonehilton.com|(518) 772-8657


From: Matt Behncke <mbehncke@SusmanGodfrey.com>
Sent: Monday, April 7, 2025 8:35 AM
To: Alex Dvorscak <alex@stonehilton.com>; Amer S. Ahmed <AAhmed@gibsondunn.com>; Justin A. Nelson
<jnelson@SusmanGodfrey.com>; Katy Peaslee <KPeaslee@susmangodfrey.com>; Gregg J. Costa
<GCosta@gibsondunn.com>; Tyler Lopez <TLopez@susmangodfrey.com>; Keeley Lombardo
<KLombardo@susmangodfrey.com>; Andrew LeGrand <ALeGrand@gibsondunn.com>; Dwight Bostwick
<DBostwick@zuckerman.com>; Naunton, Shawn <snaunton@zuckerman.com>; Trevor Nystrom
<TNystrom@susmangodfrey.com>
Cc: XvMMFA <XvMMFA@stonehilton.com>
Subject: RE: XvMMFA - Follow Up Re: X’s RFP Nos. 108, and 113-114

When we spoke at the last meet and confer X requested that we defer this issue while you
were reviewing Defendants’ February 27 email. Your email below provides additional
detail about what X is seeking re RFP 108. We will review and get back to you, but we may
not be able to do so by 1:00 today, especially since we just received X’s response to our
February 27 email last night.

I had not seen a link from you for our discussion at 10:00 am this morning so I went ahead
and circulated one a few minutes ago. Let’s just one that one.

Thanks.

Matt Behncke

From: Alex Dvorscak <alex@stonehilton.com>
Sent: Sunday, April 6, 2025 7:55 PM
To: Matt Behncke <mbehncke@SusmanGodfrey.com>; Amer S. Ahmed <AAhmed@gibsondunn.com>; Justin A. Nelson
<jnelson@SusmanGodfrey.com>; Katy Peaslee <KPeaslee@susmangodfrey.com>; Gregg J. Costa
<GCosta@gibsondunn.com>; Tyler Lopez <TLopez@susmangodfrey.com>; Keeley Lombardo
<KLombardo@susmangodfrey.com>; Andrew LeGrand <ALeGrand@gibsondunn.com>; Dwight Bostwick
<DBostwick@zuckerman.com>
Cc: XvMMFA <XvMMFA@stonehilton.com>
Subject: XvMMFA - Follow Up Re: X’s RFP Nos. 108, and 113-114

EXTERNAL Email
Matt,



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I am writing regarding X’s RFP Nos. 108, and 113-114. The parties have engaged in a meet and
confer already. Following that meet and confer, Defendants’ prior counsel responded by email
dated 2/27/25. Although X understands from our last meet-and-confer that Defendants do not
intend to propose any new compromise, X responds in writing to the points raised in that email as
follows:

        RFP 108: Defendants impugned X’s content moderation and ad safety record. X is entitled
         to the production of documents relating to the standards and Defendants’ efforts to
         investigate the standards that were used as a yardstick to measure X against. This RFP is
         not asking for documents relating to Defendants’ reporting on social media platforms
         other than X. Instead, X is seeking documents that show the research done by
         Defendants, if any, to determine the standard that was applied to X. Defendants’
         agreement to produce “documents sufficient to show that Defendants have researched and
         reported on advertising brand safety and content moderation standards on social media
         platforms other than X” misses the mark. Further, the offer to produce documents
         “sufficient to show” does not fulfill Defendants’ discovery obligations. To the extent that
         Defendants conducted research into advertising brand safety/content moderation
         standards, such documents must be produced. If no such research was conducted, and
         therefore, no responsive documents exist, please respond to the RFP stating that no such
         documents exist.

        RFPs 113-114: Defendants request for X to convert the request to a ROG is improper and
         does not excuse their production obligation. Further, an organizational chart of employees
         should be virtually burdenless to produce.

For the RFPs listed above, X understands that we are at an impasse and must seek Court
intervention. If Defendants instead intend to amend their responses, please so state in writing prior
to 1:00 pm on Monday, April 7 along with a date on which responsive documents will be produced,
or we will move to compel.

Best,
-Alex

Alexander M. Dvorscak
Attorney
STONE HILTON PLLC
600 Congress Ave.
Austin, Texas 78701
alex@stonehilton.com|(518) 772-8657
www.stonehilton.com

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                            EXHIBIT 2




                                                                          Page 8
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From:                           Elizabeth Brown Fore <Elizabeth@stonehilton.com>
Sent:                           Friday, May 2, 2025 2:23 PM
To:                             Naunton, Shawn; Alex Dvorscak
Cc:                             XvMMFA; Matt Behncke; Justin A. Nelson; Katy Peaslee; Ahmed, Amer S.; Bostwick,
                                Dwight P.
Subject:                        RE: X v. MMFA - Motion to Compel Re RFP Nos. 108, 113-114



EXTERNAL

Hi Shawn,



Thank you for your email. With respect to the three requests for production at issue (RFP Nos. 1108, 113, and
114), are Defendants now agreeing to respond to each in full?



Your agreement to produce three organizational charts without further description does not provide me with
enough information to determine if you are agreeing to fully respond. For example, are these organizational
charts for the organization as a whole or just a subset? If the organizational charts will fully respond to RFP
Nos. 113 and 114, please state that you are agreeing to fully respond to those requests.



With respect to RFP No. 108, your agreement to provide “MMFA’s reporting on online advertising brand safety
/ content moderation standards from the relevant time period,” does not satisfy the request, which I have
explained multiple times in the past. Your agreement now to produce something that we have already informed
you is insufficient, makes clear why we needed to file the motion to compel. Defendants impugned X’s content
moderation and ad safety record. X is entitled to the production of documents relating to the standards and
Defendants’ efforts to investigate the standards that were used as a yardstick to measure X against. If the answer
to RFP No. 108 is that no such documents exist, please let us know.



Best – Elizabeth




From: Naunton, Shawn <snaunton@zuckerman.com>
Sent: Tuesday, April 29, 2025 4:11 PM
To: Elizabeth Brown Fore <Elizabeth@stonehilton.com>; Alex Dvorscak <alex@stonehilton.com>
Cc: XvMMFA <XvMMFA@stonehilton.com>; Matt Behncke <mbehncke@susmangodfrey.com>; Justin A. Nelson
<jnelson@susmangodfrey.com>; Katy Peaslee <kpeaslee@susmangodfrey.com>; Ahmed, Amer S.
<aahmed@gibsondunn.com>; Bostwick, Dwight P. <DBostwick@zuckerman.com>
Subject: X v. MMFA - Motion to Compel Re RFP Nos. 108, 113-114

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      Case 4:23-cv-01175-O                        Document 192                 Filed 05/05/25                 Page 10 of 10               PageID 5766
Hi Alex and Elizabeth,

I write on behalf of Defendants regarding X Corp.’s motion to compel production of materials in response to X’s
RFP Nos. 108, 113, and 114 (Dkt. No. 175).

RFP Nos. 113 and 114, as you know, seek the names of and number of people employed or contracted by MMFA
for each month in 2023. In its motion, X represented to the Court that “an organizational or employee chart would
likely suffice” to satisfy these RFPs. MMFA does not generate organizational charts on a monthly basis. We have
located three organizational charts from the relevant time period -- organizational charts from September 2022
and October 2023, and a draft organizational chart from November 2023. Subject to and without waiving their
objections to RFP Nos. 113 and 114, Defendants will produce these organizational charts in response to the RFPs.
If we locate additional organizational charts from the relevant time period, we will produce those as well.

RFP No. 108 seeks documents “reﬂecting or relating to online advertising brand safety / content moderation
standards and / or Defendants’ efforts to investigate online advertising brand safety / content moderation
standards.” As Defendants noted in their objections, the RFP is overly broad, not reasonably particularized, unduly
burdensome, and disproportionate to the needs of the case, and seeks materials not relevant to the claims
brought by X, which relate to two MMFA articles on X's brand safety / content moderation standards.

Notwithstanding these objections, which Defendants maintain, Defendants were prepared to provide an amended
response to this RFP in an effort to reach compromise. We notiﬁed X of this on April 14 at 11:50 am EDT, and
advised that we would be in further contact on the issue later that same day. Instead of continuing the meet and
confer process, X elected not to await receipt of Defendants’ amended response and instead proceeded to ﬁle its
motion to compel approximately one hour later, at 12:58 pm EDT.

At this time, subject to and without waiving their objections to RFP No. 108, Defendants will produce MMFA’s
reporting on online advertising brand safety / content moderation standards from the relevant time period.

We trust that production of the foregoing materials will resolve the issues raised in X’s motion to compel. We hope
the parties will not burden the Court with this motion in light of the foregoing explanations and concessions.
Please let us know by 5 pm EDT on Thursday if you will withdraw your motion, as our response will otherwise be
due on Monday. I am, of course, available if you would like to discuss.

Best regards,

Shawn Naunton




                                      Shawn Naunton
                                      Zuckerman Spaeder LLP
                                      snaunton@zuckerman.com




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